

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,796






EX PARTE TREY JAMES WAKEFIELD, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 51,186-C IN THE 89th DISTRICT COURT


FROM WICHITA COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of robbery and
sentenced to eight years' imprisonment.  He did not appeal his conviction. 

	Applicant contends that his plea was involuntary because both trial counsel and the
prosecutor erroneously promised him that he would be sent to boot camp, with a chance of
community supervision if the program was successfully completed, in exchange for his plea of
guilty.  

	Both trial counsel and the prosecutor have submitted sworn statements attesting to the
truthfulness of Applicant's claim.  Based on the record, the trial court has determined that
Applicant's plea in this case was entered involuntarily.  Applicant is entitled to relief.  Ex parte
Huerta, 692 S.W.2d 681 (Tex. Crim. App. 1985).

	Relief is granted.  The judgment in Cause No. 51,186-C in the 89th Judicial District Court
of Wichita County is set aside, and Applicant is remanded to the custody of the sheriff of Wichita
County to answer the charges as set out in the indictment.  The trial court shall issue any necessary
bench warrant within 10 days after the mandate of this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.


Delivered: May 9, 2012

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